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O 106 (Rev. 04/10) Application for a Search Warrant

 

  

UNITED STATES DISTRICT COURT ©

for the
Southern District of Ohio

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Case No. 3 : 1 % a hay ie i

 

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

CELLULAR TELEPHONE ASSIGNED
CALL NUMBER 937-532-0168

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the

p BRE EONG PBEM P Heo Thi Court Has authority to issue this warrant under 18 U.S.C. §§ 2703(c)(1)(A) and 2711(3)(A)
and Federal Rule of Criminal Procedure 41.

located inthe —_ District of , there is now concealed identify the

person or describe the property to be seized):

SEE ATTACHMENT B

 

The basis for the search under Fed. R. Crim. P. 41(c) is (cheek one or more):
a evidence of a crime;
© contraband, fruits of crime, or other items illegally possessed;
wm property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:
Code Section Offense Description
SEE ATTACHMENT C

The application is based on these facts:
SEE ATTACHED AFFIDAVIT

om Continued on the attached sheet.

O Delayed notice of 30 days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

BILE

 

 

Applicant's signature

_SAWICHABISRUNNELS, FBI
ZEST ‘a, |

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Sworn to before me and signed in my presence.

Date: = D ef

 

City and state: DAYTON, OHIO TE JUDGE

 

 
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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with cellular
telephone number 937-532-0168 that is stored at premises owned,
Maintained, controlled, or operated by Sprint Spectrum, L.P., a

wireless provider headquartered at 6800 Sprint Pkwy, Overland Park,

KS.
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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Sprint Spectrum, L.P.

To the extent that the information described in Attachment A
is within the possession, custody, or control of Sprint Spectrum,
L.P., including any messages, records, files, logs, or information
that have been deleted but are still available to Sprint Spectrum,
L.P. or have been preserved pursuant to a request made under 18
U.S.C. § 2703(f), is required to disclose the following information
to the government for each account or identifier listed in
Attachment A:

a. All voice mail, text, and multimedia messages stored and
presently contained in, or on behalf of the account or
identifier;

b. All business records and subscriber information, in any
form kept, pertaining to the individual accounts and/or
identifiers described above, including subscribers’ full
names, addresses, shipping addresses, date account was
opened, length of service, the types of service utilized,
ESN (Electronic Serial Number) or other unique
identifier for the wireless device associated with the
account, Social Security number, date of birth,
telephone numbers, and other identifiers associated with

the account.
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II. Information to be seized by the government

All information described above in Section I that constitutes
fruits, evidence and instrumentalities of violations of 26 U.S.c.
§§ 5861(c) & (d), 18 U.S.C. §§ 641 and 844(e) involving Joel
Montgomery since August 1, 2012, including, for the account listed
on Attachment A, information pertaining to the following matters:

(a) 26 U.S.C. § 5861 (c)- Receive/possess a firearm,
Silencer and/or destructive device made in violation of
federal law; 26 U.S.C. § 5861 (d) - Receive/possess a
firearm, silencer and/or destructive device not
registered in the National Firearms Registration and
Transfer Record; 18 U.S.C. § 641 - Retaining and
concealing stolen property with the intent to convert to
personal use or gain; and 18 U.S.C. § 844(e)-Interstate
threats involving explosives.

(b) Evidence indicating how and when the cellular device and
associated cellular service was used to determine the
chronological context of cellular device use, account
access, and events relating to the crime under
investigation;

(c) Evidence indicating the geographic location of the

cellular device at times relevant to the investigation;
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Evidence indicating the cellular device owner or user's
state of mind as it relates to the crime under
investigation;

The identity of the person(s) who created the account
associated with the cellular device and/or used the
cellular device, including records that help reveal the

whereabouts of such person(s).
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26 U.S.C. § 5861 (c)

26 U.S.C. § 5861 (d)

18 U.S.C. § 641

18 U.S.C. § 844(e)

ATTACHMENT C

Receive/possess a firearm, silencer and/or destructive device made in
violation of federal law

Receive/possess a firearm, silencer and/or destructive device not registered
in the National Firearms Registration and Transfer Record

Retaining and concealing stolen property with the intent to convert to
personal use or gain

Interstate threats involving explosives
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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR SEARCH WARRANT
I, Michael Runnels, being duly sworn, hereby depose
and state as follows:
INTRODUCTION AND AGENT BACKGROUND
1. I ama Special Agent of the Federal Bureau of
Investigation (FBI) and have been for over 8 months. I am
currently assigned to the FBI's Cincinnati Field Office, Dayton
Resident Agency. During my tenure with the FBI, I have
personally participated in criminal and national security
investigations. As such, I have gained both knowledge and
experience in gathering and collecting evidence related to
violations of Title 18 of the United States Code and other
violations of federal law. Prior to joining the FBI, I was
employed with a private security company gaining knowledge and
experience in numerous internal investigations.
2. This affidavit is submitted in support of an
application for a search warrant to search Sprint Spectrum L.P.

account 937-532-0168.

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PROBABLE CAUSE

3. The facts set forth in this affidavit are based
upon your Affiant’s personal observations, my training and
experience, information provided by various law enforcement
agents and witnesses familiar with this investigation, and other
documents obtained and generated during the course of this
investigation. This affidavit is intended to show that there is
probable cause for the requested search warrant and does not
purport to set forth all of my knowledge of, or investigation
into, this matter.

4. Joel Benjamin Montgomery (hereinafter
“MONTGOMERY” ) was born January 16, 1969. His permanent
residence is 2302 Schnebly Road, Spring Valley Twp., Ohio. The
Bureau of Alcohol, Tobacco, Firearms, and Explosives (BATF), the
FBI, and other law enforcement agencies have been investigating
MONTGOMERY, a former commissioned officer in the United States
Air Force (USAF) Reserve and former subcontractor for Department
of Defense (DoD) Contractor Macaulay-Brown, Inc. (MBI), for
various offenses to include: Unlawful Possession of a
Machinegun, Possession of Unregistered Firearms and Explosives,
Possession of Unregistered Suppressor, Theft of U.S. Government
Property, and Interstate Threats to kill, injury and intimidate

individuals.

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5. From approximately June 2007 through August 2012,
MONTGOMERY worked as a subcontractor for DoD Contractor MBI
through MONTGOMERY’S company, M&M Aviation. During the period
of this contractual agreement, MONTGOMERY worked on various
projects with the Air Force Research Laboratory (AFRL), located
at Wright-Patterson Air Force Base (WPAFB) in Fairborn, Ohio.
One of the projects involved the utilization of the AN/AAR-47
Missile Warning System (MWS) for testing and research purposes.
Given this circumstance, while a sub-contractor of MBI,
MONTGOMERY had access to various pieces of United States
military and civilian aviation technology and intellectual and
other proprietary property, including, but not limited to: the
AN/AAR-47 Missile Warning System (MWS) and a Control,
Countermeasures Set Display Unit. As detailed more fully below,
the AN/AAR-47 Missile Warning System (MWS) and a Control,
Countermeasures Set Display Unit were not permitted to leave the
confines of WPAFB. MONTGOMERY’s association with MBI was
terminated in or around August 2012 because he no longer held
the appropriate security clearances to continue work on the
sensitive projects connected to AFRL.

6. On June 24, 2015, the Greene County, Ohio
Sheriff's Office (GCSO) executed a search warrant, issued by the

Xenia, Ohio Municipal Court, at MONTGOMERY’S residence located

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at 2302 Schnebly Road, Spring Valley, OH 45370. The purpose of
the warrant was to obtain evidence supporting a ‘criminal
damaging’ investigation in violation of provisions of the Ohio
Revised Code. Neighbors complained that, while MONTGOMERY was
shooting firearms at a back stop located on his property, rounds
from his gun were impacting into and damaging a building and
vehicles located on their adjoining property. MONTGOMERY denied
the allegations, yet bullet holes, recovered bullets, witnesses
and additional investigation suggested otherwise. Some of the
shooting, according to complainants and a GCSO Deputy, sounded

similar to that of machinegun fire.

7. During the aforementioned search, investigators
seized more than one hundred fifty firearms, including
“homemade” rifles, approximately five “skids” of ammunition,
several firearms kits, numerous firearm parts including barrels,
a variety of receivers and a firearm building instruction manual
for a “Maadi-Griffin” .50 caliber rifle. The basement of
MONTGOMERY’S home was found to contain a lathe (with filings
observed upon it) and a drill press. The lathe and the drill
press were not seized. On-scene investigators suspected that
some of the firearms as well as firearm receivers seized

pursuant to the warrant were in-fact machineguns.

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8. In the weeks following the execution of said state
search warrant, the GCSO provided the BATF with various
opportunities to inspect the seized items. One of the firearms
seized was described as a Fabrica, model Imbel, caliber 7.62,
serial number 113841. Additional information gleaned from an
examination of this firearm indicated its manufacturer/place of
origin consisted of: Fabrica De ItaJuta, Brasil PAC7201-EF113841
- Pacific Armament Corp., Modesto, CA FZ SA 7.62. The receiver
of this firearm contained a selector switch with three
positions. Xenia Police Detective Lon Etchison, a person
knowledgeable and experienced in firearms and a SWAT team
member, stated that when the selector switch was placed in the
safe position, the firearm would not function. When the
selector switch was placed in the semi-auto position, the
firearm field tested as a semi-automatic weapon. When the
selector switch was placed in the automatic position, the
firearm field tested as a fully automatic firearm. Additional
similar receivers were found among the numerous seized firearms
parts. Moreover, Detective Etchison advised he suspected that
the firearm was comprised of foreign made parts.

9. Additionally, during the search of MONTGOMERY’ S
residence pursuant to the said state search warrant, a suspected

Silencer, black in color, was found in plain view located in

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what appeared to be an office area of the living quarters. No
typical manufacturer’s markings, such as company name, model,
caliber and serial number, were observed. Given the lack of
markings, and based on BATF SA John Tilton’s prior training and
experience, this silencer appeared to be a homemade device.
Additionally, a Walther pistol, model P22, .22 caliber, bearing
serial number L222790 with a threaded barrel was also seized
pursuant to the state search warrant. Contained in the same gun
box as said handgun was an YHM silencer, model 22mite,

caliber .22, bearing serial number M221502.

10. The information regarding this silencer with
identifiable serial number was submitted to the National
Firearms Act (NFA) Branch to determine to whom it may be
registered. This search revealed that it, together with another
identical silencer, (except for a different serial number), was
registered to “Hush Me Now A Revocable Trust” of 2302 Schnebly
Road, Spring Valley, OH. The associated ATF Form 4, Application
for Tax Paid Transfer and Registration of Firearm, indicated
JOEL B. MONTGOMERY, Trustee, signed the certification for both
Silencers on July 8, 2008. It should be noted that the GCSO
located and seized only one of these two listed silencers during

the execution of said state search warrant.

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11. The NFA Branch advised that there were no other
firearms registered to this trust entity or otherwise connected
to said address. A complete search for all known ATF Form 1,
Applications to Make and Register a Firearm, related to said
trust and/or said address was conducted. A trust can legally be
authorized to manufacture certain specific firearm related
items. In order to do so, the trust must first pay the required
federal tax and properly file a required ATF Form 1. The NFA
Branch further advised that no such filings/records were found
indicating any official authorizations were ever sought or
granted to either MONTGOMERY, or any trust entity connected to
him or his home address to manufacture NFA firearms, silencers
or machineguns.

12. Additionally, a notebook containing instructions
on how to build Maadi-Griffin .50 caliber rifles was also seized
pursuant to said state search warrant. Indeed, two similar .50
caliber rifles, with no typical manufacturer markings were also
seized by the GCSO. There were several additional barrels found
in a box similar to the ones used in the construction of these
two said firearms. At least one PMKMS/AKMS parts kit seized had
a receiver that was at least partially completed. There were
several other kits/parts seized that were identified as 1919A6,

AK kits, AR upper and lower receivers, FNFAL receivers and

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parts, and more.

13. Your Affiant has consulted with BATF SA Timur
Housum on certain aspects of subject investigation. As a result
of said consultations, your Affiant has become aware that there
are certain firearms that may field test as being a fully
automatic weapons, however may ultimately be later determined to
not be considered a machinegun under NFA definitions and
definitions. Alternatively, there are other firearms, although
configured to shoot only in the semi-automatic mode that are
legally determined under the NFA to qualify as machineguns
because of the characteristics or configuration of the gun’s
receiver. Under certain circumstances, so-called “lightening
links”, and/or other components can be used to readily convert a
semi-automatic firearm into a fully automatic firearm thereby
legally qualifying as machineguns. Moreover, 18 U.S.C. § 922(r)
makes it illegal for anyone to assemble from imported parts any
semiautomatic rifle or shotgun prohibited from importation.

14. On July 22, 2015, pursuant to a Federal Search
Warrant, BATF SA Tilton collected certain evidence previously
seized by the GCSO. The evidence was transported to the National
BATF Firearms Technology Branch (FTB) facility in West Virginia
in order to permit Firearms Enforcement Officer(s) (FEO) to

complete an in-depth forensic examination and analysis to

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determine the firearms’ manufacturers, whether they were
clandestinely made, and whether they functioned as originally
designed. Several items contained kits/parts. The FTB was
specifically tasked with determining whether individually or
collectively, these said firearms after being readily assembled,
qualified as either a Gun Control Act or NFA firearms.

15. Based upon a thorough examination, BATF FEO Ron
Davis confirmed that the unmarked aforesaid suspected silencer
was indeed considered a silencer for NFA purposes.

16. FEO Davis further examined a seized belt fed
Rapid Fire, model 1919, caliber .308, serial number 1244, which
was also marked as a “semi-automatic” firearm. He advised that
the receiver of this weapon lacked the so-called “denial
islands” that are required for semi-automatic model 1919 firearm
receivers. Using a part, he found in and among the seized
evidence collected from MONTGOMERY’S residence, he was able to
demonstrate how the weapon’s receiver would not accept the said
part had the receiver been a semi-automatic receiver. As a
result, FEO Davis opined that modifying other components to make
this firearm fire in a semi-automatic mode, was not in and of
itself, sufficient to disqualify this weapon as a machinegun.

17. Utilizing other parts that were seized from

MONTGOMERY'S residence, FEO Davis was able to fire the said belt

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fed Rapid Fire, model 1919, caliber .308, serial number: 1244 as
a fully automatic machinegun.

18. On or about October 26, 2015 a Federal search
warrant was executed at MONTGOMERY’S Spring Valley residence
related to various suspected firearms offenses. During the
course of this search, various items of equipment purportedly
belonging to the U. S. Air Force were observed in plain view by
investigators. Upon observing said equipment, the on-scene
federal agents suspended the search operations until a second
Federal search warrant could be obtained, thereby specifically
authorizing them to search for items/property suspected to have

been stolen and/or converted from the U. S. Air Force.

19. After the second Federal search warrant was
secured, on-scene agents immediately proceeded to execute said
warrant at MONTGOMERY’S residence. Among the items of evidence
thereafter seized as suspected U. S. Government property were
(a) the AN/AAR-47 Missile Warning System (MWS), including an
Optical Sensor, Serial Number (SN) TJQ03548 (this item has an
estimated value of approximately $40,000); and (b) a Control,
Countermeasures Set Display Unit, SN TJQ02201 (this item has an
estimated value of approximately $10,000); and (c) a Canon

Powershot Digital Camera, SN 4422112876.

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20. As noted above, MONTGOMERY previously worked on
sensitive Missile Warning projects at AFRL. This work utilized
the AN/AAR-47 Missile Warning System (MWS) equipment for
research, development and testing purposes. The MWS is utilized
by all branches of the U. S. military on both fixed wing and
rotary aircraft. The MWS is only permitted to be used by the U.
S. Government and/or its designees. This equipment is only to
be maintained at U. S. Government facilities and reservations
and/or on aircraft utilized by the U. S. Government and/or its

designees.

21. On November 4, 2015, AFRL personnel examined the
MWS components previously seized from MONTGOMERY’S residence on
October 26, 2015. They immediately identified both components
as integral parts of the MWS, a system that was previously

utilized for testing throughout the AFRL.

22. On November 6, 2015, MONTGOMERY and his attorney,
Thomas Merritt, Esq. voluntarily appeared at the United States
Attorney’s Office in Dayton, OH to discuss the ramifications and
the results of the October 26, 2015 Federal search warrants
executed at MONTGOMERY'S residence, as well as the pending
federal criminal investigation. Assistant United States

Attorney (AUSA) Brent Tabacchi, BATF SA John Tilton, and FBI SA

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C.J. Freihofer attended this meeting. At said meeting,
MONTGOMERY was confronted with the fact that U. S. Government
Property was in-fact seized from his residence. MONTGOMERY
advised that he was never told that he could or could not take
any of the government property with him upon termination of his
employment by MBI. AUSA Tabacchi thereafter presented the
actual Optical Sensor for MONTGOMERY to view and examine at the
meeting seeking an explanation or response. MONTGOMERY
acknowledged that the Optical Sensor did belong to the U. S.
Government, and was utilized by him during his AFRL testing
efforts. Also, MONTGOMERY further advised that he must have
transported the Optical Sensor from his aircraft hangar located
in Springfield, Ohio to his Spring Valley residence. He further
reiterated that nobody ever told him he could or could not keep
the Optical Sensor, and informed all present that the Optical

Sensor was obsolete and otherwise “old technology.”

23. On or about November 10, 2015, the AFRL was
requested by the FBI to examine their equipment inventory
records in order to determine whether certain seized pieces of
equipment were connected to AFRL. Two specific units were
checked for, to wit: an optical sensor, SN TJQ03548, anda
Control, Countermeasures Set Display Unit, SN TJQ02201. Both

items were ultimately determined to be property of the U. S.

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Government. The AFRL was able to identify both components as
having been on the inventory lists of the Aryzt Advanced
Programs Branch. During a physical inventory completed in June
2012, it was determined that the subject optical sensor was
missing. While complying with said request, AFRL officials also
determined that the Control, Countermeasures Set Display Unit
was also missing, yet had erroneously been maintained on the
inventory. AFRL has concluded the serial numbers on both said
components seized from MONTGOMERY'S residence did indeed

originate from AFRL.

24. Following MONTGOMERY’S termination of employment
with MBI, a physical inventory of relevant AFRL property and
equipment was performed. This inventory revealed that certain
items of Government Furnished Equipment (GFE) were missing,
including, but not limited to, a Canon Powershot digital camera,
SN 4422112876. This camera was determined by AFRL officials to
be missing as of on about August 24, 2012. This camera was last
known to be used to document a Hostile Fire Indication (HFT)

test setup procedure on about August 2, 2012.

25. On about August 2, 2012, MONTGOMERY coordinated
an Official Test and Evaluation at his Spring Valley residence.

According to AFRL/MBI personnel, this testing and analysis was

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related to the said HFI project. The Canon Powershot digital
camera was allegedly used to document test setup for this HFI

test.

26. On September 4, 2015, an MBI employee was
contacted by the FBI. This individual stated he/she was
employed as an MBI contractor at the AFRL. Two of the defense
contracts that this individual worked on were the Passive
Electro-Optic Threat and Target Detection Program (PETAD) and
Omni-Sentinel projects. Since approximately 2003, this
individual had worked on AFRL contracts. During this time
period, he/she specifically worked with MONTGOMERY on both the
PETAD and Omni-Sentinel projects, to include the MWS testing.

At the end of August 2012, approximately two days before
MONTGOMERY was terminated as a MBI subcontractor, this
individual confronted MONTGOMERY as he was observed departing ae
AFRL Research & Development Hangar on WPAFB carrying a high tech
Forward-Looking Infrared (FLIR) camera estimated to be worth
approximately $50,000. When MONTGOMERY was asked by this
individual as to what he was doing with the FLIR camera,
MONTGOMERY responded that he was going to utilize it for some
type of research & development project. This individual advised
MONTGOMERY that the project to which MONTGOMERY referred was not

a project he (MONTGOMERY) was directed or authorized to work on.

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The individual further advised MONTGOMERY to immediately return
the FLIR camera to the hangar. MONTGOMERY complied with this

directive and placed the FLIR camera back in the AFLR hangar.

27. Throughout the subject investigation, various
WPAFB and AFRL officials who had oversight and/or supervisory
responsibilities of various units/laboratories at the AFRL while
MONTGOMERY was employed as a subcontractor for MBI were
interviewed. None of these individuals indicated that they
ever granted MONTGOMERY permission to retain any U. S.
Government owned and/or Government Furnished Equipment (GFE)

following his termination of employment with MBI.

28. Moreover, law enforcement officials connected
with this investigation have learned that, since 2015,
MONTGOMERY has made or attempted to make various technical
and/or research related presentations to various groups, at
various locations throughout the U.S. concerning and related to

MWS.

29. On October 10, 2017, BATF received unsolicited
information from an identified individual believed to be a long-
time acquaintance of MONTGOMERY. This individual stated that as
recent as October 5, 2017, MONTGOMERY had made alarming comments

that prompted this individual to notify BATF. This individual

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went on to report that MONGTOMERY has made comments about
“taking out” people. This individual went on to say that
MONTGOMERY has revenge issues, and has tended to become fixated
on going after people he had a grudge against, and/or believed
may have previously wronged him or crossed him. MONTGOMERY told
this individual he (MONTGOMERY) has to get out of town or he’s
seriously going to kill a lot of people. MONTGOMERY indicated
that he has a case coming up and there’s a new prosecutor who is
trying to “make a name for himself”. MONTGOMERY indicated that
he is furious with everyone involved in the case. The
individual stated MONTGOMERY has stated when he goes, he is
going to take a lot of people with him. According to this
individual, MONTGOMERY made alarming comments after the October
1, 2017 Las Vegas, Nevada mass shooting incident, in which this
individual described comments made by MONTGOMERY criticizing the
mass-shooter for failing to kill more people. This individual
further advised MONTGOMERY may be setting explosive traps for
law enforcement personnel who may enter his Spring Valley
property. This individual stated he/she believes MONTGOMERY
presently has an out-of-control drinking problem that has

possibly started to consume his life and thought processes.

30. On or about October 12, 2017, the aforementioned
identified individual provided BATF with access to text messages

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he/she previously received from MONTGOMERY. Extracts of some of
these text messages include the following: “Building some more

mortars for indirect fire at this point”

“One and a half mile range, should be good to rain the house

with shrapnel with the feds”

“T’m taking my time. Letting the epoxy with the BB’s cure. You
got to make sure that the shrapnel is effective and spreads

appropriately with a high explosives”

“You don’t want to be like that dork and only kill 60 people and
moon 500. You want to be able to kill at least half the people

on the venue”
“That should have said wound”
“But he was only an accountant, I designed weapons for 20 years”

31. During previous 2015 searches of MONTGOMERY’s
residence, law enforcement officials observed indicia of
explosive materials and precursors including, but not limited
to: blasting caps. Law enforcement officials also observed
various types and categories of materials and equipment that
could be used to construct destructive devices as more fully
referenced and described below. Law enforcement officials also

observed an electronic media word document entitled “Anarchists

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Cookbook”. Based upon both your Affiant’'s prior training,
experience, coupled with discussions with BATF agents familiar
with this investigation, this document serves as an instruction
manual on how to construct improvised and otherwise homemade

explosive devices.

32. Based upon reliable firsthand information of a
person intimately knowledgeable of the interior confines of
MONTGOMERY’s residence, between the fall of 2013 and March 2015,
wood and steel ammunition were containers stored in the basement
of said residence. Said containers contained items described as
blocks of green/gray clay with the label “C-4” printed on them
in black coloring. Your Affiant is aware that C-4 is a well-

known form of plastic explosives.

33. At approximately 7:22 PM on October 18, 2017,
federal agents arrested MONTGOMERY pursuant to an arrest warrant
(See Case No. 3:17mj481) issued by this Court pursuant toa
criminal complaint sworn to by FBI SA Sue Ellen Clark.
MONTGOMERY’s arrest occurred adjacent to the Greene County Jail
Facility located in Xenia, Ohio. Incident to arrest, the
following cellular phone was removed from MONTGOMERY’s person by
law enforcement authorities, to wit: an LG G6 Smart phone; Model

LG-LS993; MEID: 089-451-725-600-402-720. The phone number

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assigned to the aforesaid phone was 937-532-0168. The service
provider for said telephone has been determined to be Sprint
Spectrum, L.P. Prior to MONTGOMERY’S arrest, law enforcement
officials had become aware this cell phone had previously been
used to transmit and receive certain texts and voice messages
concerning the topic of MONTGOMERY’S intended and illicit
planned use of explosives and firearms and possible interstate

threats to certain third parties.

34. Based upon the above referenced facts and
circumstances gathered by law enforcement officials from source
information, previously executed search warrants at MONTGOMERY’s
residence, witness interviews and text messages and telephone
calls believed to be generated by MONTGOMERY, your Affiant
believes there is probable cause to believe relevant evidence,
fruits, and instrumentalities concerning the subject criminal
investigation into above referenced suspected violations of
federal laws, will be found in the Sprint Spectrum, L.P. records
for telephone account number 937-532-0168 which is associated
with LG G6 Smart phone; Model LG-LS993; MEID: 089-451-725-600-

402-720.

35. On or about October 11, 2017, investigators

associated with subject case caused a database search to be

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conducted that revealed phone number 937-532-0168 belonged to
MONTGOMERY. As a result, on or about October 13, 2017, a
preservation request letter was issued by law enforcement
authorities to officials at Sprint Spectrum, L.P. asking that
all records and other evidence in the possession of Sprint
Spectrum, L.P. be preserved associated with said account. On or
about October 17, 2017, Sprint Spectrum, L.P. issued a
confirmation letter acknowledging receipt of said preservation
letter. Pursuant to 18 U.S.C. § 2703(a), a search warrant or
probable cause statement signed by a federal judge is thereafter
required to release the contents of the subject stored

data/communications.

ITEMS TO BE SEARCHED

36. Based upon all of the above stated facts and
circumstances, your Affiant seeks court authorization to search
any and all stored content maintained by Sprint Spectrum, L.P.
for the account for telephone number 937-532-0168, to include,
but not limited to all associated accounts, telephone numbers,
contact lists, stored images/photographs, subscriber and user
records, IP connection logs, call detail records, alternate

accounts, text messages and voice mail programs and files.

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37. As such, legal authorization is sought in this
application to forensically search and examine any and all
stored electronic data maintained and preserved by Sprint
Spectrum, L.P. concerning telephone account number 937-532-0168.

38. Based on the foregoing, I request that the Court

issue the proposed search SI

Michael Runnels
Special Agent
Federal Bureau of Investigation

 

Sworn to before me and subscribed in my presence this

LO“. day of November, 2017.

 
 
 
  
 

  
 
  
 

yer

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